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                                   L]NITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF MISSOLIRI
                                          EASTERNDIVISION

   UMTED STATES OF AMERICA,                               )
                                                          )
        Plaintiff,                                        )
                                                          )
                                                         )    No.4:21CR00013 RLW
                                                         )
   TERRY WILLIAMS,                                       )
                                                         )
        Defendant.                                       )

                                          GUILTY PLEA AGREEMENT

           Come now the parties and hereby agree, as follows:

           1. PARTIES:

           The parties are the defendant Terry Williams, represented by defense counsel John

 Lynch, and the United States of America (hereinafter ,,United States', or ',Govemment',),

 represented by the OfEce of the United States Attorney for the Eastem District of Missouri. This

 agreement does not, and is not intended to, bind any govemmental office or agency other than

 the   United states Attomey for the Eastem District of Missouri. The court is neither a party to

 nor bound by this agreement.

          2. GUIL       PLEA:

          Pursuant to Rule 1 1(c)(l)(A), rederal Rules of criminal procedure, in exchange for the

 defendant's voluntary plea of guilty to count one       ofthe indictment, the United states   agrees to

 dismiss count Seven at the time of sentencing. The united States further agrees that no
                                                                                         further

 federal prosecution   will   be brought in this District relative to the defendant,s violations of federal

 law, known to the United States at this time, arising out ofthe events set forth in the
                                                                                         indictment.
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            In addition, the parties agree that the U.S. Sentencing Guidelines Total Offense Level

  analysis agreed to by the parties herein is the result ofnegotiation and 1ed, in part, to the guilty

  plea. The parties further agree that either party may request a sentence above or below the U.S.

  Sentencing Guidelines range (combination of Total Offense Level and Criminal History

  Category) ultimately determined by the Court pusuant to any chapter of the Guidelines and Title

  18, United States Code, Section 3553(a). The parties further agree that notice of any such

  request   will   be given no later than ten days prior to sentenchg and that said notice shall   specifi

  the legal and factual bases for the request. Finally, the parties acknowledge that the Court is not a

  party to the plea agreement and is not bound by its terms.

                     3. ELEMENTS:

        As to the offense in Count One, the Defendant admits to knowingly violating Title 21,

  United States Code, Sections 8a1(a)(i) and 846, and admits there is a factual basis for the plea

  and further   fully understands that the elements of the crime are as follows:

            (1) Two or more people reached an agreemsnt to commit the crime of distributing and

  possessing with intent to distribute methamphetamine;

            (2) The Defendant voluntarily and intentionally joined in the agreement;

            (3) At the time the Defendant joined in the agreement, the Defendant knew the purpose        of
  the agreement; and

            (4) While the agreement was in effect,   a person   or persons who had joined in the

  agreement knowingly did one or more acts for the purpose of carrying out or carrying forward

 the agreement.

                     4. FACTS:


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           The parties agree that the facts in this case are as follows and that the govemment would

  prove these facts beyond a reasonable doubt     if   the case were to go to trial   .   These facts may be

  considered as relevant conduct pursuant to Section 1B1.3:

                                                The Conspiracy

            From January 2019 until the date of the indictment (January 6, 2021) Brendon Thomas

  (hereafter "Thomas"), Joe Holliman (hereafter "Holliman" or "Defendant"), Dedrick Jordan

  (hereafter "Jordan'), Terry Williams (hereafter "Williams") and others, both known and

  unknown, conspired to distribute methamphetamine and other controlled substances in the

  Eastem District of Missouri and elsewhere. Williams, Jordan, Clifford Davis, Jr. (heteafter

  "Davis") and Maria Flores-Cervantes (hereafter "Flores-Cervantes") were connected to the

  source of supply located in the Los Angeles, Califomia area, which is located in the Central

  District of Califomia. Williams, Thomas, Holliman and Jordan were primarily responsible for

  arranging for the supply of methamphetamine and in tum, supplying the narcotics to various

  sheet-level distributors in the Eastem District of Missouri, including Matthew Aubin (hereafter

  "Aubin"), Jacqueline Harris (hereafter "Harris"), Thomas Fogle (hereafter "Fogle"), fuchard

  Clark (hereafter "Clark'), Sarah Reynolds (hereafter "Reynolds"), Alexandra Chambers

  (rereafter "Chambers"), Deidre Medcalf (hereafter "Medcalf'), Joseph Suraud (hereafter

  "Suraud"), David Nuelle (hereafter 'Nuelle") and others.

           The proceeds from the sale ofthe methamphetamine (and at times marihuana and heroin)

  were converted from U.S. currency into money orders or money grams, in order to disguise and

  conceal the actual source ofthe money. U.S, currency representing unlawiul proceeds from the

  sale   of methamphetamine and other illegal narcotics was also electronically transfened utilizing


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  various methods affecting interstate commerce, specifically cash applications like "Square" and

  Wa1-Mart money transfers. Commercial banks were also utilized wherein defendants would

  structure cash deposits in order to conceal or disguise the true source ofthe deposits. The money

  in tum would then be transferred from bank to bank via wire services or withdrawn using

  "Square Cash," "Venmo" and other point of sale debits affecting interstate commerce. The

 defendants knew the U.S. currency was derived from the unlawful sale of methamphetamine and

 other illegal narcotics and intentionally utilized various financial transactions affecting interstate

 commerce, in order to facilitate their drug distribution activities and to intentionally conceal the

 true source ofthe money.

         The investigation (which was primarily conducted by the Drug Enforcement

 Administration, Home Land Secuity Investigations, United States Postal Inspection Service and

 Jefferson County Municipal Enforcement Group) revealed that Thomas, Holliman and Jordan

 each maintained a separate residence which they utilized to receive and store narcotics and cash

 proceeds from the sale ofnarcotics. The methamphetamine and other narcotics were shipped

 from the Cenhal District of Califomia (primarily the Los Angeles area) to the Eastern District of

 Missouri through the U.S. mail and via couriers who drove vehicles with hidden compartments.

 They in turn would distribute the narcotics from their residences and store the U.S. currency

 derived from the sale ofthe narcotics at their respective residences, Street-level distributors

 would travel to the St. Louis metropolitan area in order to be supplied with methamphetamine

 and other narcotics. Other defendants to include Harris, Fogle, Clark, Reynolds, Karll,

 Chambers, Medcalf, Suraud, Nuelle and Aubin would then re-distribute the narcotics.




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         During the investigation, packages mailed from the source in Los Angeles and destined

  for the Eastem District of Missouri were interdioted by the United States Postal Inspection

  Service in February 2020 and again in July 2020. The packages contained a total of 1,322.4

  grams of crystal methamphetamine, with a purity of at least 97% and 8,942.1grams           of

 marihuana. Surveillance footage captures Williams mailing a package on July 1 1, 2020 from the

  Los Angeles area to co-conspirator Jacqueline Harris, After the package was intercepted, it was

 processed for fingerprint evidence. Analysis confirmed that Williams' fingerprints were found on

 the package. After a search warrant was obtained for the package,         it was opened by investigators

 and revealed 3,325 grams of marijuana and, 439.4 grams of actual methamphetamine.

         On   April   18, 2020 Davis and Flores-Cervantes were stopped in Phelps County, Missouri

 driving Jordan's Nissan Rogue. The Rogue had been tracked from St. Louis to Los Angeles and

 back to Missouri by the DEA who had utilized a court-ordered GPS tracking device. Law

 enforcement discovered a hidden compartment in the vehicle which contained a loaded pistol

 and what the   DEA lab determined to be 1 1 .97 kilograms of crystal methamphetamine with an

 average purity level of 947o and 47.8 grams ofheroin.

         On June 18, 2020 investigators executed   tkee residential search warrants       at the

 residences ofThomas, Jordan and Holliman. At Jordan's residence, investigators discovered

  $129,776 in U.S. currency, 190 grams of 97% pure methamphetamine, and a digital scale.           At

  Holliman's residence, investigators discovered vacuum-sealed bags ofmarihuana, electronic

  scales, ammunition, three (3) firearms, and 4.3 grams   of   96%o pure   methamphetamine. It was

  determined that unindicted co-conspirator Ebony Silinzy had purchased two of the firearms on

  behalfof Holliman who was a convicted felon and prohibited from purchasing or possession


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  firearms. At Thomas' residence, investigators found three (3) firearms, clear plastic bags

  containing marihuana, a money counter and $17,520 U.S. currency.

         From January 2019 until the date of the indictment, the conspiracy was responsible for

  distributing in excess of50 grams of actual methamphetamine. The total seizures of

  methamphetamine during the investigation exceeded 15 kilograms.

         As to Defendant Williams, the precise amount of methamphetamine for which he is

 responsible cannot be calculated pr€cisely, but the parties stipulate and agree for sentencing

 purposes that Defendant is responsible for at least 150 but less than 500 grams ofactual

 methamphetarnine.

         5. STATUTORYPE NALTIES:

         The defendant fully understands that the maximum possible penalty provided by 1aw for

 the crimes to which the defendant is pleading guilty is:

         Count 1: imprisonment ofnot less tlan l0 years nor more than life, a fine of not more

 than $10,000,000, or both such imprisonment and fine. The Court shall also impose a period       of

 supervised release ofnot less than 5 years.

         6. U.S. SENTENCING G            ELINES: 2018 MANUAL:

        The defendant understands that this offense is affected by the U.S. Sentencing Guidelines

 and the actual sontencing range is determined by both the Total Offense Level and the Criminal

 History Category. The parties agree that he following are the U.S. Sentencing Guidelines Total

 Offense Level provisions that apply.

                                                 Count One

         a. Chaoter   2 Offense Conduct:



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         (1)   Base Offense   Level: The parties   agree that the base offense level is 32, as found   in

  Section 2D1.1(c)(4) as Defendant is responsible for distributing between 150 and 500 grams           of

  actual methamphetamine.

         (2) Specilic Offense Characteristics: None.

         b. Chanter      3 Ad iustments:

         (3) Acceptance of Resoonsibilifv:      The parties agree that three levels should be deducted

 pursuant to Section 3E1.1(a) and (b), because the defendant has clearly demonstrated acceptance

  of responsibility and timely notified the govemment ofthe defendant's intention to plead guilty.

 The parties agree that the defendant's eligibility for this deduction is based upon information

 presently known.   If   subsequent to the taking of the guilty plea the govemment receives new

 evidence of statements or conduct by the defendant which it believes are inconsistent with

 defendant's eligibility for this deduction, the govenment may present said evidence to the court,

 and argue that the defendant should not receive all or part   ofthe deduction pursuant to Section

 3E1.1, without violating the plea agreement.

         c. Estimated Total Offense Level: The parties estimate        that the Total Offense Level is

 29.

         c. Criminal llistorv: The determination of the defendant's Criminal History Category

 shall be left to the Court. Either party may challenge, before and at sentencing, the finding of the

 Presentence Report as to the defendant's criminal history and the applicable category. The

 defendant's criminal history is known to the defendant and is substantially available in the

 Pretrial Services Report.




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          d. Effect of Partiesr   U.S. Sentencine Guidelines Ana lysis: The parties agree that the

  Court is not bound by the Guidelines analysis agreed to herein. The parties may not have

  foreseen all applicable Guidelines. The Court may, in its discretion, apply or not apply any

  Guideline despite the agreement herein and the parties shall not be permitted to withdraw from

  the plea agreement.

          7. WAIVER OF APPEAL AND POST-CONVIC TION RIGHTS:

          a. Appeal: The     defendant has been    fully apprised by defense counsel ofthe defendant,s

  rights concerning appeal and fully understands the right to appeal the sentence under Title 18,

  United States Code, Section 3742.

                   (1) Non-Sentencing Issues: The parties waive all rights to appeal all non

 jurisdictional, non-sentencing issues, including, but not limited to, any issues relating to pretrial

  motions, discovery and the guilty plea, the constitutionality of the statute(s) to which defendant

  is pleading   guilty and whether defendant's conduct falls within the scope of the statute(s).

                   (2) Sentencing Issues: In the   event the Court accepts the plea, accepts the U.S.

  Sentencing Guidelines Total offense Level agreed to herein, and, after determining a Sentencing

  Guidelines range, sentences the defendant within or below that range, then, as part of this

  agreement, the defendant hereby waives all rights to appeal all sentencing issues other than

 Criminal History, but only if it affects the Base Offense Level or Criminal History Category.

  similarly, the Government hereby waives all rights to appeal all sentencing issues other than

 Criminal History, provided the Court accepts the plea, the agreed Total Offense Level and

 sentences the defendant     within or above that range.




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                 b.   Habeas   Corpus:   The defendant agrees to waive all rights to contest the

  conviction or sentence in any post-conviction proceeding, including one pursuant to Title 28,

  United States Code, Section 2255, except for claims of prosecutorial misconduct or ineffective

 assistance of counsel.

                 c. Right to Records: The     defendant waives all    ri ghts, whether   asserted directly

 or by a representative, to request from any department or agency ofthe United States any records

 pertaining to the investigation or prosecution of this case, including any records that may be

 sought under the Freedom of Information Act, Titte 5, United States Code, Section 522, or the

 Privacy Act, Title 5, United States Code, Section 552(a).

         8. OTHER:

                a. Disclosures Required by the United States Probation Office: The

 defendant a$ees to truthfully complete and sign forms as required by the United States

 Probation Office prior to sentencing and consents to the release ofthese forms and any

 supporting documentation by the United States Probation Office to the govemment.

                b. Civil or Adminis trative Actions not Barredt [ffect on Other
                Governmental Agencies:

         Nothing conkined herein limits the rights and authority ofthe United States to take any

 civil, tax, immigration/deportation or administrative action against the defendant.

                c. Suoervised R elease:     Pursuant to any supervised release term, the Court       will

 impose standard conditions upon the defendant and may impose special conditions related to the

 crime defendant committed. These conditions will be restrictions on the defendant to which the

 defendant will be required to adhere. Violation of the conditions of supervised release resulting

 in revocation may require the defendant to serve    a   term of imprisonment equal to the length     of
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  the term ofsupervised release, but not greater than the term set forth in   Title   18, United States

  Code, Section 3 583(e)(3), without credit for the time served after release. The defendant

  understands that parcle has been abolished.

                  d. Mandatory Special Assessment:          Pursuant to Title 18 , United States Code,

  Section 3013, the Court is required to impose a mandatory special assessment of$100 per count

  for a total of $ 100, which the defendant agrees to pay at the time of sentencing. Money paid by

  the defendant toward any restitution or fine imposed by the Court shall be first used to pay any

  unpaid mandatory special assessment.

                  e. Possibilitv of Detention: The defendant may be subject to immediate

  detention pursuant to the provisions of Title 18, United States Code, Section 3143.

                  f.   Fines. Restifution and Costs of Incarceration and Su pervision: The Court

  may impose a fine, costs of incarceration and costs of supervision. The defendant agrees that

  any fine imposed by the Court    will   be due and payable immediately.

                  g, Forfeiture: The      defendant kno wingly and voluntarily waives any right, title,

  and interest in all items seized by law enforcement officials during the course     oftheir

  investigation, whether or not they are subject to forfeihre, and agrees not to contest the vesting

  of title of such items in the United States. The defendant agrees that said items may be disposed

  of by law enforcement officials in any manner.

             A                DGMENT AND WAIV                          DEFENDANT'

          In pleading guilty, the defendant acknowledges, fully understands and hereby waives his

  rights, including but not limited to: the right to plead not guilty to the charges; the right to be

  tried by ajury in a public and speedy trial; the right to file pretrial motions, including motions to


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  suppress or exclude evidence; the right at such trial to a presumption of innocence; the right to

  require the govemment to prove the elements of the offenses charged against the defendant

  beyond a reasonable doubt; the right not to testiff; the right not to present any evidence; the right

  to be protected from compelled self-incrimination; the right at tdal to confront and cross-

  examine adverse witnesses; the right to testifu and present evidence and the right to compel the

  attendance of witnesses. The defendant further understands that by this guilty plea, the

  defendant expressly waives all the rights set forth in this paragraph.

          The defendant fully understands that the defendant has the right to be represented by

  counsel, and ifnecessary, to have the Court appoint counsel at trial and at every other stage     of

  the proceeding. The defendant's counsel has explained these rights and the consequences of the

  waiver of these rights. The defendant fully understands that, as a result of the guilty plea, no trial

  will, in fact, occur and that the only action remaining to   be taken in this case is the imposition   of
  the sentence.

         The defendant is fully satisfied with the representation received from defense counsel.

  The defendant has reviewed the govemment's evidence and discussed          tle   governmenfs case and

  all possible defenses and defense witnesses with defense counsel. Defense counsel has

  completely and satisfactorily explored all areas which the defendant has requested relative to the

  government's case and any defenses.

         The guilty plea could impact defendant's immigration status or result in deportation. In

  particular, if any crime to which defendant is pleading guilty is an,,aggravated felony" as defined

  by Title 8, United States Code, Section 1101(a)(43), removal or deportation is presumed




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   mandatory. Defense counsel has advised the defendant of the possible immigration

   consequences, including deportation, resulting from the plea.

          IO. VOLIJNTARY NATURE OF THE GUILTY PLEA AND PLEA

  AGREEMENT:

          This document constitutes the entire agreement between the defendant and the

  govemment, and no other promises or inducements have been made, directly or indirectly, by

  any agent ofthe government, including any Department ofJustice attomey, conceming any plea

  to be entered in this case. In addition, the defendant states that no person has, directly or

  indirectly, threatened or coerced the defendant to do or refrain from doing anything in

  conneotion with any aspect of this case, including entering a plea of guilty.

          The defendant acknowledges having voluntarily entered into both the plea agreement and

  the guilty plea. The defendant further acknowledges that this guilty plea is made    ofthe

  defendant's own ftee   will   and that the defendant is, in fact, guilty.

          1   1. CONSEOUE,NCE S OF POST.PLEA MISCONDUCT:

          After pleading guilty and before sentencing, if defendant commits any crime, other than

  minor traffic offenses, violates any conditions ofrelease that results in revocation, violates any

  term of this guilty-plea agreement, intentionally provides misleading, incomplete or untruthful

  information to the U.S. Probation office or fails to appear for sentencing, the united states, at its

  option, may be released from its obligations under this agreement. The Government may also, in

  its discretion, proceed with this agreement and may advocate for any sentencing position

  supported by the facts, including but not limited to obstruction ofjustice and denial   of
  acceptance of responsibility.



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                 12, NO RIGHT TO WITHDRAW GUILTY PLEA:
                                                                                                                           I

                 Pursuant to Rule I       l(c) and (d), Federal Rules of Criminal Procedure, the defendant                 :

                                                                                                                           !
                                                                                                                           I


         understands that thei'e   will   be no right to withdl'aw the plea entored under this agreement, except
                                                                                                                           i
                                                                                                                           I
         wh€le the Cou( rejects those poftions of th€ plea agreem€nt which deal with charges the

                                                                                                                           I
         government agrees to dismiss or not to bring,
                                                                                                                       I

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            tof    >,
                Date
                        /t"z-                                       PAUL     J.   D'AGROSA (#36966MO)
                                                                    Assistant United States Attornoy
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